
In re Eads Operating Co. Inc.; Murchison Oil &amp; Gas Inc.; Anderson, William; Bufler &amp; Bufler Constr. Co.; Bufler, Claude; Bufler, Glenn; Davis Crude Inc.; Eads, John; Eads, Ralph; Eads, Ralph III; Garrity, James; Key, Martin L.; Mineral Projects Inc.; Ollinger, Harry; Pollution Control Systems Inc.; Peeples, Eugene M. IV; Peterson, Retha; Roland, George Dr.; Stroud, Richard; Western State Bank; Yager, Sam; Olafson, Jim; applying for writs of certiorari and/or supervisory writs; to the Court of Appeal, First Circuit, No. CW-86-1009; Parish of East Baton Rouge, 19th Judicial District Court, Div. “I”, No. 291647.
Granted. The judgment of the Court of Appeal is vacated. The judgment of the trial court overruling the exceptions of no cause of action and prescription is reinstated. The case is remanded to the district court for trial on the merits.
WATSON, J., dissents from the order.
